          Case 3:16-cr-00279-L          Document 320          Filed 08/29/17       Page 1 of 1          PageID 636
                                     IN THE UNITED STATES DISTRICT COURT                                U ..'-· ,_;.:
                                     FOR THE NORTHERN DISTRICT OF TEXAS

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                                               DALLAS DIVISION                                                  FP ED
UNITED STATES OF AMERICA                                  §

v.
                                                          §
                                                          §    CASE NO.: 3:16-CR-002        -L
                                                                                                      I AUGZ· ';
                                                          §                                           t-·----
DARRELL DERONE THOMAS (11)                                §

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                                        REPORT AND RECOMMENDATION
                                         CONCERNING PLEA OF GUILTY

         DARRELL DERONE THOMA, by consent, under authority of United States v. Dees, 125 F.3d 261 (5th Cir.
1997), has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count(s) One of the
Superseding Information After cautioning and examining DARRELL DERONE THOMAS under oath concerning each of
the subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable and voluntary and that the
offense( s) charged is supported by an independent basis in fact containing each of the essential elements of such offense.
I therefore recommend that the plea of guilty be accepted, and that DARRELL DERONE THOMAS be adjudged guilty of
21 U.S.C. § 846, namely, Conspiracy to Possess With Intent to Distribute Marijuana and have sentence imposed
accordingly. After being found guilty of the offense by the district judge,

D       The defendant is currently in custody and should be ordered to remain in custody.

~The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(l) unless the Court finds by clear and
        convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the community
        if released.

        ~      The Government does not oppose release.
        [jJ./" The defendant has been compliant with the current conditions of release.
        v - - I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
               other person or the community if released and should therefore be released under § 3142(b) or (c).

        D        The Government opposes release.
        D        The defendant has not been compliant with the conditions of release.
        D        If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                 Government.

D       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (l)(a) the Court finds there is a
        substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be imposed, or (c) exceptional circums         es are clearly shown
        under § 3145(c) why the defendant should not be d ined, an              the Court fin by c ear and convincing
        evidence that the defendant is not likely to flee or pos a d nger o an other pers n o    co munity if released.

Date:   29th day of August, 2017




Failure to file written objections to this Report and Recommendation within fourteen (14) days fr     ate of its service
shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United States District
Judge. 28 U.S.C. §636(b)(l)(B).
